                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:20-CV-216-BO

 CBRE HEERY, INC .,                              )
                                                 )
                              Plaintiff,         )
                                                 )
        V.                                       )
                                                 )
 RLI INSURANCE COMP ANY and                      )     CONSENT PROTECTIVE ORDER
 SOUTHERN GLASS & MIRROR OF                      )       REGARDING DISCOVERY
 EASTERN NORTH CAROLINA, INC.,                   )
                                                 )
                              Defendants.        )
                                                 )


       This matter came before the Court on the parties' joint motion for entry of protective order,

and for good cause shown, IT IS HEREBY ORDERED as follows:




       This Order applies to all products of discovery and all information derived therefrom,

including, but not limited to, all documents, data compilations, applications or software,

electronically stored information, computer disks, objects or things, deposition testimony,

affidavits, interrogatory/request for admission responses, or any other media on which information

is recorded, and any copies, excerpts or summaries thereof, obtained by any party pursuant to the

requirements of any court order, request for production of documents, request for admissions,

interrogatory, or subpoena (collectively, "Discovery Materials"). This Order does not affect any

person ' s or entity' s use of its own information or documents, nor does it affect the use of any

information or documents at trial.

2.     "Confidential" Material Defined




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       For the purposes of this Order, Discovery Materials may be designated as "Confidential"

or "Attorney's Eyes Only" pursuant to Paragraph 4 of this Order. Additionally, a "Designating

Entity" means Plaintiff, a Defendant, or a non-party who produces documents or information

pursuant to Subpoena. A Designating Entity may designate as "Confidential" any discovery

material it reasonably and in good faith believes to contain confidential business information,

sensitive financial information, or highly sensitive personal information. For the purposes of this

Order, "Designated Material" means any material that meets the definition of"Confidential" under

this Order, and that has been so designated by any Designating Entity.

3.     Use of Designated Material

       a.      Unless otherwise expressly permitted by this Court or by express written agreement

of the parties (including, where applicable, a non-party Designating Entity), all Designated

Material produced or discovered in this case designated as "Confidential" shall be used solely for

the prosecution or defense of this case, and shall not be used for any other purpose, including, but

not limited to, any other litigation or judicial proceedings, or any business, competitive, or

commercial purpose or function.

       b.      Whenever a deposition involves the disclosure of confidential or privileged

information, the deposition or portions thereof shall be designated as confidential and subject to

the protective order. Such designation shall be made on the record during the deposition when

possible, but a Designating Entity may designate portions of depositions as confidential after

transcription, provided that written notice of the designation is promptly given to all counsel of

record within 30 days after notice by the court reporter of the completion of the transcript.

4.     Procedure for Designating Material

       A Designating Entity shall designate "Confidential" material in the following manners:



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       a.     In the case of documents or other written materials, by affixing the word

"Confidential" by stamp or other method which will make such word conspicuous to each page of

the document the Designating Entity wishes to designate.

       b.     In the case of electronic data, including but not limited to information produced on

a hard drive, cd-rom, dvd-rom, thumb drive, or other electronic media ("medium of production"),

by providing written notice to all parties requesting production identifying the material being

designated as "Confidential". To the extent possible, the Designating Entity shall also label the

medium of production with the appropriate designation. However, any failure or inability to affix

such label to the medium of production shall not waive any protection provided by this Order.

       c.     In the case of written discovery or pleadings, by affixing the word or phrase

"Confidential" by stamp or other method to the portions so designated.

       d.     Every page of every single document, whether physical or electronic, that is

produced should be designated as confidential in a manner that will not interfere with the

document's legibility. Information that should be included in the designation includes the case

name, the court, the docket number, and the phrase "confidential and subject to protective order".

If the documents being produced are in electronic format, the designation should be in the form of

a large watermark that is placed diagonally across the document and the document should be

rendered non-editable.

5.     Permissible Disclosures of "Confidential" Material

       Except as otherwise agreed in writing by the Designating Entity or as ordered by the Court,

material designated as "Confidential" may be disclosed to and used only by:




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       a.      counsel of record for the parties in this case and his/her partners, associates,

secretaries, legal assistants, employees, and litigation support vendors to the extent reasonably

necessary to render professional services in this case;

       b.      the Court or the jury at trial or as exhibits to motions;

       c.      court officials involved in this case (including court reporters and persons operating

video recording equipment at depositions);

       d.      the author of the document and each recipient of a copy of the document, only

insofar as the author or recipient is identified on the face of the document;

       e.      the parties in this case and any employees of the parties to this case only to the

extent the employee(s) is one necessary to the prosecution;

       f.      subject to the limitations below, any person designated by the Court in the interest

of justice, upon such terms as the Court may deem proper;

       g.      subject to the limitations below, persons in this case noticed for depositions or

designated as trial witnesses, only to the extent reasonably necessary in order to conduct the

examination of such person or to prepare such person to testify;

       h.      subject to the limitations below, outside consultants or outside experts in this case,

including their support personnel, retained for the purpose of assisting counsel of record or inside

counsel of the parties in this case or to serve as an expert witness in this case; and

       1.      subject to the limitations below, any mediator in this case.

       The parties shall obtain from any individual to whom disclosure is to be made under

subparagraphs (f) through (i) above a signed Acknowledgement of Protective Order, attached

hereto as Exhibit A, prior to such disclosure. Counsel providing access to such material shall




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retain copies of the executed Acknowledgement(s) and shall produce such Acknowledgement(s)

to the parties upon request.

6.     Inadvertent Disclosures

       a.      The parties agree that in the event the producing party or other person inadvertently

fails to designate materials hereunder, or inadvertently produces or discloses attorney client

privileged or work product materials or other protected document or information, whether

inadvertent or otherwise, shall not be deemed a waiver of the privilege, work product, or other

confidentiality protections available under this agreement or immunity from discovery in this or any

subsequent state or federal proceeding regardless of the circumstances of disclosure. If any party

becomes aware of the production or disclosure of such protected information it may make such a

designation subsequently by notifying all persons and parties to whom such materials were

produced, in writing, within fourteen (14) days of the producing party first discovering such

inadvertent disclosure. In no event, however, may a producing party or other person designate or

re-designate inadvertently produced materials within thirty (30) days prior to trial. After receipt of

such notification, the persons to whom production has been made shall prospectively treat the

designated materials as "Confidential", subject to their right to dispute such designation in

accordance with Paragraph 8. The receiving party shall not be in violation of this Protective Order

for any disclosure of information made prior to receiving such notification.

       b.      With regard to privileged information or documents, nothing herein shall be

deemed to waive or limit any applicable privilege or work product or other protection, or to affect

the ability of a Designating Entity to seek relief for an inadvertent disclosure of matter protected

by privilege or work product protection. If a Designating Entity inadvertently produces matter

that it in good faith later asserts to be privileged or otherwise protected from disclosure, the



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production of that matter will not constitute a waiver of any applicable privileges or other

protection, provided the Designating Entity complies with this paragraph. In such circumstances,

the Designating Entity must, promptly after discovery of the inadvertent production, notify in

writing all Parties to the Action in which the matter was inadvertently produced of the inadvertent

production and the basis for the privilege or other protection, and request in writing the return or

confirmed destruction of the inadvertently produced privileged or protected matter. Upon such

notification, the receiving parties shall treat the matter as privileged or protected unless and until

the Designating Entity agrees otheiwise in writing or the Court determines the matter is not

privileged or protected. Within five (5) business days of receiving such notification, all non-

Designating Parties shall (a) return the matter to the Designating Entity; or (b) confirm in writing

to the Designating Entity the destruction of all such matter, including all excerpts, summaries,

compilations, and other documents or records that include, communicate or reveal matter claimed

to be privileged or protected, or (c) notify the Designating Entity in writing of the basis for its

disagreement that such matter is privileged or protected from disclosure. In the last event only,

the non-Designating Entity may retain one copy of the matter asserted to be privileged for the sole

purpose of responding to a motion by the Designating Entity to deem the matter privileged or

protected from disclosure and shall comply with (a) or (b) above with respect to all other copies

of such matter and all other documents or records that include, communicate or reveal matter

claimed to be privileged or protected. Should the parties be unable to agree on whether the matter

is privileged or protected, the Designating Entity shall file a motion with the Court within fifteen

(15) days of its receipt of the receiving party's notice of disagreement under (c) above, to deem the

matter privileged or protected and to obtain the return of any copy of such matter still held by the




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non-Designating Entity. In no event shall production of any privileged information be deemed a

waiver of privilege regarding any other information.

7.     Designations of Material in Filings and at Trial

        Without written permission from the Designating Entity or a court order, all Designated

Material filed with or submitted to the Court shall be provisionally filed under seal and

accompanied by a motion that the material be placed under seal.           The parties shall seek the

assistance of the trial court in protecting the confidentiality of Designated Materials at trial or any

pre-trial or post-trial hearings. It is understood by the parties that any documents which become

part of an official judicial proceeding or which are filed with the Court are public documents, and

that such documents can and will be sealed by the Court only upon motion and in accordance with

applicable law.    This Protective Order does not provide for the automatic sealing of such

documents. The fact that Designated Materials have been designated as ''Confidential" shall not

constitute dispositive proof that the Materials in fact contain confidential information entitled to

protection from disclosure under law.

        Nothing in this Order shall be construed to limit the evidence that any party may offer at

hearing or at trial, nor shall it be construed to limit any claim or defense of any party. Any party

may request that the trial testimony of any party or its employee or representative that contains

sensitive corporate information or trade secrets is subject to the protective order and granting the

party the authority to seal the trial transcript to bar dissemination of such trial testimony, but that

the party must exercise this power within 30 days of the jury verdict or bench order or its right to

seal the trial transcript is waived.

8.      Relief from Protective Order




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       This Order shall be without prejudice to the right of any party to oppose production of any

information on any ground, except confidentiality.

       Any party may at any time request, in writing, from any Designating Entity the removal of

a designation of documents, material , information, or things as "Confidential." Upon receipt of

such request, the parties shall confer in good faith as to the status of the subject information. If

the parties are unable to agree upon the status of the subject information, any party may, upon

reasonable notice to the opposing party' s counsel, move for an order relieving them of the

provisions of this Order for good cause shown to be determined by the Court, or may, upon

reasonable notice, challenge a designation by motion to the Court.           In such instances, the

Designating Entity shall bear the burden of establishing that the challenged documents, material,

information, or things are entitled to protection under this Protective Order. Until the Court enters

an Order changing the designation, such material shall be subject to the restrictions initially

assigned to it and provided for it in this Protective Order. The parties hereto retain the right to

apply to the Court for an order affording additional protection to any material produced herein as

the circumstances may warrant.

9.     Subpoena by Other Courts or Agencies

       If another court or an administrative agency subpoenas or otherwise orders production of

"Confidential" material, the person to whom the subpoena or other process is directed shall (1)

promptly object to the production of such material by setting forth the existence and force of this

Protective Order and (2) notify the Designating Entity of the subpoena or order within three (3)

days of receiving such subpoena and provide a complete copy of the subpoena or order to the

Designating Entity.




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10.    Non-Termination

       This Order shall survive the final conclusion of this case and shall continue in full force

and effect, and the Court shall retain jurisdiction to enforce this Order. Within thirty (30) days

after the final conclusion of this case (including the contemplation of any appeals), all Designated

Material produced in this litigation shall, upon request of the Designating Entity, be either

destroyed or returned to that entity; provided, however, that counsel for each party may retain for

their respective files one copy of such Designated Material that does not constitute protected

information. If the parties agree to destroy confidential documents, the destroying party shall

provide all parties with an affidavit confirming destruction.

       Notwithstanding any of the foregoing , the parties ' counsel may retain any privileged

attorney work product they have created which incorporates Designated Material on the condition

that they will maintain the confidentiality of such material and will not use such material in

contravention of the provisions of this Order.

11.    Modification and Non-Waiver

       Nothing in this Order shall prevent any party or other person from seeking modification of

this Order or from objecting to discovery that it believes to be otherwise improper. The designation

or non-designation of information shall not affect the materiality, relevance, or admissibility of

any information, except as set forth herein.

12.    Improper Disclosure of Designated Material

       Disclosure of Designated Material other than m accordance with the terms of this

Protective Order may subj ect the disclosing person to such sanctions and remedies as this Court

may deem appropriate.




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13.    Effectiveness

       This Order shall be binding on the parties as an enforceable contract upon its execution by

the parties ' respective counsel. This Order shall be effective as an Order of the Court upon its

entry by the Court.                              ~

       IT IS SO ORDERED, this the$-- of 8t>f3•6int:Ytt , 2021.




                                            T~/J~  NCEW.BOYLE
                                            United States District Judge




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                  IN THE UNITED STA TES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                            No. 5:20-CV-216-BO

CBRE HEERY, INC .,                        )
                                          )
                         Plaintiff,       )
                                          )
     V.                                   )
                                          )
RLI INSURANCE COMP ANY and                )
SOUTHERN GLASS & MIRROR OF                )
EASTERN NORTH CAROLINA, INC. ,            )
                                          )
                         Defendants.      )
                                          )
SOUTHERN GLASS & MIRROR OF                )
EASTERN NORTH CAROLINA, INC .,            )
                                          )
               Counterclaim Plaintiff,    )
                                          )
      V.                                  )
                                          )
CBRE HEERY, INC .,                        )      ACKNOWLEDGEMENT OF
                                          )   PROTECTIVE ORDER REGARDING
               Counterclaim Defendant.    )    CONFIDENTIAL INFORMATION
                                          )
SOUTHERN GLASS & MIRROR OF                )
EASTERN NORTH CAROLINA, INC. ,            )
                                          )
                Third-Party Plaintiff,    )
                                          )
      V.
                                          )
                                          )
TRAVELERS CASUALTY AND SURETY             )
CO:MP ANY OF AMERICA, FIDELITY            )
AND DEPOSIT CO:MP ANY OF                  )
MARYLAND, LIBERTY MUTUAL                  )
INSURANCE CO:MP ANY, and FEDERAL          )
INSURANCE COMPANY,                        )
                                          )
                Third-Party Defendants.   )
                                          )




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ACKNOWLEDGEMENT OF PROTECTIVE ORDER

1.     I hereby attest to my understanding that material, information or documents designated as

"Confidential" are provided to me subject to the Protective Order ("Ord.er") dated

_ _ _ _ _ __ ___ , 2021 , in the above-captioned litigation (the "Litigation"); that I have

been given a copy of and have read the Order; and that I agree to be bound by its terms. I also

understand that my execution of this Acknowledgement of Protective Order, indicating my

agreement to be bound by the Order, is a prerequisite to my review of any information or

documents designated pursuant to the Order.

2.     I further agree that I shall not disclose to others, except in accord with the Order, any

"Confidential" material, in any form whatsoever, and that such material and the information

contained therein may be used only for the purposes authorized by the Order. I agree that any

materials that I create that contain information that has been designated as "Confidential" is also

protected by the Order to the same extent as the original Designated Materials.

3.     I further agree to be bound by the provisions in the Order governing protected health

information, as defined therein. Specifically, I agree and attest to my understanding that any such

protected health information shall not be used or disclosed for any purpose other than this

Litigation.

4.     I further agree to return all copies of any Designated Material I have received to counsel

who provided them to me upon completion of the purpose for which they were provided and no

later than sixty (60) days after the conclusion of this case.

5.     I further agree and attest to my understanding that my obligation to honor the

confidentiality of Designated Material will continue even after this case concludes.




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6.      I further agree and attest to my understanding that, if I fail to abide by the terms of the

Order, I may be subject to sanctions, including contempt of court, for such failure. I agree to be

subject to the jurisdiction of the Court presiding over this action, for the purposes of any

proceedings relating to enforcement of the Order.

7.      I further agree to be bound by and to comply with the terms of the Order as soon as I sign

this Acknowledgement of Protective Order, regardless of whether the Order has been entered by

the Court.

By:     _ _ _ _ _ _ _ _ _ _ _ [signature]

        _ _ _ _ _ _ _ _ _ _ _ _ [printed name]

        _ _ _ _ _ _ _ _ _ _ [title]

        _ _ _ _ _ _ _ _ _ _ _ _ [organization/company]

Date:




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